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                            UN ITED STA TES D ISTRICT CO U RT FOR TH E
                                 SOU THERN D ISTRICT O F FLORID A
                                          M imniD ivision

                                CaseNumber:00-01334-V D-M ORENO
       IN R E:M AN A GED CA RE LITIG ATION ,
                                                    /

       ORDER GM NTING M OTION TO VACATE ARBITM TION AW ARD FINDING THE
             SETTLEM EN T A G R EE M ENT 'S R ELEA SE BA R S M CA G 'S CLA IM S

              The disputeoverclassm em bers'compensation underthe Settlem entAgreementhasbeen

       ongoingforoverfifleen years.Even in 2008,then aybitrator,formerChiefJudgeEdward Davis,

       notedisM anagedCareAdvisoryGroup (M CAG)andCigna'sstatusastwoshipspassinginthe
       night.''Notmuch haschanged in theintelwening 15 yearsasdiscordhascontinued withoutfinal

       resolution.ln 2021,this Courtsentthe m atterto the new ArbitratorJoseph M atthew sforreview .

       The Courqhowever,had notresolved thethreshold issueofwhetherthe SettlementAgreel ent

       bars M CA G from recovering on a group ofCategory 2 claim s- those designated by Cigna as

       isRecordsFound,No.''ArbitratorM atthewsnoted Cigna'sdèfenseto the arbitration underthe
   '   Setllem entA greem ent,butdid notdecide the issue.Cigna now seeks to vacate the FinalA w ard

       (ECF6820-2)arguingthattheclaimsarebarredbytheSettlementAgreementandthearbitrator
       exceededhisauthority by overturning certain decisionsoftheExternalReviewersby finding

       certain claim scompensable.M CAG filed across-m otion tom odify thearbitration award,

       claim ing thtttthearbitiatordid notgo farenough in awarding compensation tmdçrthe Settlem ent

       A greem ent.Becausethe Courttlndsthatthe Settlèm entA greem ent'sreleasebarsthe claim s,the

       Courtvacatesthe FinalA w ard and deniesM CA G 'S m otion to m odify the aw ard.

              TH IS CAU SE cam e before the Court upon Cigna H ealthcare's M otion to V acate the

       ArbitralAward (D.E.6820)and M anaged Care Advisory Group,LLC'S (M CAG)M otion to
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    ConGrm ArbilalAwardinpartandM odifytheArbitralAwardO .E.6821).
           Tlv COURT has considered the m otions,tlze responses,oral argument,the pertinent

    portionsoftherecord,and being otherwiseftzlly advisedin thepremises,itis

           ADJUDG ED thatCignaHealthcare'sM otiontoVacatetheArbikalAw ard isGRAN TED

    assetforth in thisOrder.The Courtfmdsthesettlem entagreem entbarsM anaged CareAdvisory

    Group's(MCAG)resubmitted clnims,labeledRRecordsFound,No,''which werethesubjectof
    the most recent arbitration in this case.(ECF 6820-2).Accordingly, the Courtorders the
    $16,281,051.19 currently i.
                              n escrow to beretllrned to Cigna.lItisalso

           ADJIJDGED thatM CAG'SM otion to ConGrm theArbitralAward in partand M odify It

    in partisDENIED asm oot.

                                            1.      Backtround

           On Septem ber4,2003,thepartiesentered into a SettlementAr eem entto settlea11

    claim sin thism ultidistrictcase.Classm emberscouldpursuecompensation in two ways-

    recovery 9om a fixedflm d orthey could resubmitclnim swith aproof-of-clnim and supporting

    docum enution to obtain whattheSettlem entAgreem entterm ed çlcategory Two''benelts.These

    CategoryTwoclnimsarethesubjectofthedisputebetweenCignaandM anagedCareAdvisory
    Group(M CAG).TheAmericanM edicalAssociationrecruitedM CAG toserveasanagentfor
    physiciansmnking clnim sundertlle SettlementAgreem ent.

           TheSettlementAgreementj8.3(c)(2)setsforthprocedtlresforCategozy 2Claimants.
    (ECF2308,Exh.2at124).From 2003to2005,M CAG begantoactasafduciaryalzdagentfor
    certain ClmssM embers,to facilitatethe paym entofCategory Tw o claim R.Thelastday to fle



    lThisOrderdoesnotG ectany pre-existing obligationthatCignaHealthcarehasto paypastdueunpaidApproved
    Claims.
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    proofsofclaimsunderCategory 2 underthe SettlementAr eem entwmsFebnlary 18,2005.On

    July 18,2005,whiletheSettlementAdminiskatorEPIQ Globalwasprocessingtheinitialclaims
    Eled by M CAG,oneoftheM CAG classm embers,TexasChildren'sHospital,Sled am otion to

    enforcetheSettlem entAr eem entin tllisCourt.W hilethemotion waspending,M CAG and

    Cignaagreedto subm ittheirdispute concem ing Category.2 claimsto arbitration and them otion

    waswithdrawn.SeeBindingArbitrationApeement(ECF6110-1).
           'l'heArbikationAgreementstatesthatGçltqhepartiesshallsubmitthedisputetoasingle
    arbitratorforfm alresolution ofa11issuesrelating to whetherthe claim sforCategory Two

    Com pensation undertheSettlem entAm eementam ong CignaHealthcareand Physicians

    subm itted by M CAG on behalfofClmssM em bersarepayablepm suantto thatAm eem ent''16Llt

    addsGGltjhereshallbenorightofappeal9om thearbitrator'sdecision,exceptthateitherparty
    maychallengethearbitrator'sdecisionon g'
                                           rotmdspermissibleundersection 10(a)(1)and(2)of
    theFederalArbitrationActCFAA''),9U.S.C.j1,etJrç.''Ii Thepartiesalsoagreedtoappoint
    the form erChiefJudgeoftheUnited SutesDistrictCourtforthe Southern DistrictofFloridw

    Edward Davis,msthearbikator.Judge Davispresided overthe initialarbikation oftheparties'

    disputed clnim s.On M ay 23,2007,JudgeDavisentered an orderallowingM CAG'Sclnimstobe

    re-processed in accordmwew1t11Msinterpretationsoftheobligationsofthepartiesandthe

    SettlementAdminiskatorEPIQ OlobaltmdertheSettlementAgreement.
           M CAO re-submitted hundredsofthousandsofclaimsbetween Augustand October2007.

    (ECF 6820-2at!(46).EPIQ enteredtheinformationâom theseClaim FormsintoExcel
    spreadsheetsand sentthem to Cigna.Id.Cigna entered itsresponsestotheclnim sinto cellson

    ExcelorprovidednotesforEPIQ.'
                                l'here-submission processwascompletedinJanuary 2008.
    f#.at!48.Asaresult,EPIQ overttmledasignifcantpercentageofCi> a'sdenials.For
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    exam ple,theenforcem entoftheReview File requirementrestllted in 53% ofCir a'sdenials

    beingovertamed.1à EPIQ fonvardedotherclnimsforreview totheExtez'
                                                                   nalRedewers.'I'
                                                                                 he
    partiesagnin Sled motionsbeforethearbikator.JudgeDavisentered an orderon June 18,2008,

    detailing therightsand obligationslmderthe Settlem entAgreementand ordezing there-

    submission ofM CAG'SremainingclnimshlJlme2008.Ié at!51.EPIQ reprocessedtheclaims
    arldsentmanyclaimstotheIndependentReview Entity.1d at!67.ObjectingtoEPIQ'Sprocess,
    M CAG fled anotherm otion beforeJudgeDavisregardingtheprocessing ofclaim s.On

    December22,2009,JudgeDavisentered an orderstating thatwhileheagzeed thatthe

    SettlementAdminiskatorand theIndependentReview Entity m akethefmaldecisionson the

    clnims,hewmstaskedw1t11ensuringthatEPIQ andtheIndependentReview Entitymade
    decislonsin accordancewith theterm sand conditionsoftheclnim sprocedure.

          Almostflfteen yearslater,theviability ofM CAG'SCategory 2 clnim sremain atissue.

    Cigna contendstheseclaim sarebarred by the Settlem entAgreem ent'srelea efortwo reu ons.

    M CAG neversubm ittedthem in accordancewith tlzeproceduresofthe SettlementAgreem ent

    andEPIQ andtheIndependentReview Entityalreadydecidedthemeritsoftheseclaims,which
    decisionsarelmreviewable.Thequestion iswhetherthereremainsanissueastowhetherEPIQ
    properly handled those claim sin accordmwew1t11theterm sandproceduresoftheclaim sprocess

    orwhetherEPIQ compliedwiththeclaimsprocessandthosedecisionsarenow final.
          In January 2021,the Courtreferredthismatterback to azbikation,and thenew Arbitrator

    JosephM atthewsenteredaFinalAwardaAerreviewingM CAG'SCategory2clnims.(ECF
    6820-2).Althoug,hArbitratorM atthewsnotedtherelemseargument,hedidnotdecidethemerits

    ofthethresholdissuethattheseclnimsshouldnotbesubjecttoarbitrationbecausetheyare
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    barred by theSettlem entAr eem ent.ThisCourtmustnow decidewhetherto vacatethearbikal

    award on thesegrotmds.

                                       H.      LeaalStandard

          R'heFederalArbitration Actsetsoutthestandardstm derwhich aparty m ay seek an order

    vacatingafIIZaIarbitralaward.See9U.S.C.j 10(a).'FheActprovidesthatacourtinthedistrict
    wheretheaward wasissued,m ay vacatethe award ifthearbitratorexceeded thearbikator's

    powers.9U.S.C.j10(a)(4).W hereanarbikatorexceedshisauthorityandprovidesaremedynot
    provided forin thetmderlying document,thearbitratorexceedshisauthority and courtsm ay

    vacatearbikalawards.VerizonPenn.LLC v.Comms.WorkersofAm.,13F.4th 300,310(3dCir.
    2021).Findingthattheremedy employedbythearbikalpanelwasnotcontemplatedbythe
    underlying agreem entisgroundsforvacating an arbikalaward.16L

          In thiscase,thearbikation stem s9om theSettlem entAp eement.AstheArbitration

    Agreem entrecognizes;ltrl'hePartiesshallsubmitthe disputeto asinglearbikatorforfmal

    resolution ofallissuesrelatingto whethertheclaim sforCategory Two Compensation underthe

    SettlementAgreement...arepayableptlrsuanttothatagreement.''(ECF 6110-1).Theissueis
    whethertheArbikator'sFinalAward exceçdshisauthority tmdertheSettlementAgreem entand

    theArbitration Agreem ent.

                                            H I.       A nalysis

       A. Does theSettlementAgreement'sReleaseBarM CAG '
                                                       s CurrentCategory11Claims?
                                                                              .



           The SettlementAgreem entdefmed I<lkeleased Claim s''asany and a11claim sthathave

    been orcould havebeen msserted by oron behalfofany and ora1lClassM em bersagninKtthe

    Released Persons,and which arosepriortoFinalApproval,which wason February 2,2004.See

    SettlementAreement(ECF 2308at55;Ex.B j1.108);FinalApprovalOrder(ECF 2900).A


                                                   5
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    clnim isreleasedifitmeetstwocriteria:(1)thesubjectmatteroftheclnim fallswithinthescope
    oftheRelease;and(2)theclnl
                             'm arosepriortoFinalApprovalin2004.
          TheCourthasfortwodecadesrepeatedlybarredpartiesfp m ptlrsuingclnimscoveredby
    theSetdementAgreement.See,e.g.,Inre:M anagedCare,756F.3d 1222,1225(11thCir.2014)
    (afflrmingihpartdistrictcourt'sordertotheextentitheldappeltantsincontemptandimposed
    sanctionsforfailmetowithdraw clahnsthatwererelemsedbytheSettlementAveement);
    Thomasv.BlueCross& BlueShieldAss'n,333F.App'x 414,422(11thCir.2009)(afGnning
    districtcourt'spermanentinjunctionbarringclaimsagainstinsurerbecauseihoseclaimswere
    releasedbytheSettlementAreement);Klayv.AllDefendants,309F.App'x294,295(111 Cir.
    2009)tafllrmingdistrictcourtdecisionconcludingthattheclaimsofaplaindffs'poup
    comprisedofphysicianswerebarredbytheSettlementAgreement):In re:ManagedCareLitig.,
    00-1334,(S.D.Fla.M arch27,2006)(ECF4888)(OrderAdpptingReportandRecommendations
                                                                '
                                                            ,


    toenforceinjtmctionagainsthealthcareprovidermssertingreleasedclaimsagainstCigna
    allegingunder-compensation);Inre:M anaged CareZï/jg.,00-1334,(S.D.Fla.Feb.14,2006)
    (ECF4778)(enforcingsettlementagainstproviderwhoallegedthatCignahadreducedordenied
    paym entsand noting thatRclassm em bersare expressly prohibitedfrom initiating lawsuits
                                                                                              '
                                     .
    againstrelemsedpersonsforany clnlmsrelemsedbytheSettlepentAgreement'');InreManaged
    CareLitig.,00-1334,(S.D.Fla.Nov.15,2004)(D.E.3558)(denyingpr'
                                                                oviderplaintiffsattempt
    toavoidsettlementrelease);InreManagedCareLitig.,00-1334,(S.D.Fla.June7,2004)(ECF
    2774)(enjoiningproviderâom pursllinganappealagainstareleasedpartyl.
           Atissueiswhetherthe Courtshould once again ezlforcethereleaseandbarM CAG'S

    Category2 clnims.InhisFinalAwardatheArbitratorJoseph M atthewsnoted theissue,butdid

    notdecidethem eritsofthe legalargtlm entthattheclaim sarebarred by theterm softhe


                                                  6
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    SettlementA greement.Thepartiesraise afew issuesforthe Court'sconsideration.Fbst,whether

    theclaim sarepresumptively payablelmderthe Settlem entAgreem entdue to a failureofCigna

    toprovide aReview File.Second,whetherM CAG properly resubm itted theseclaim sin

    accordancewith theSettlementAgreement'sprocedme,andifso,whetherEPIQ compliedw1t1&
    theclnim sprocedure.Third,thepartiesraisethe issueofwhethertheseclaimsarosebeforethe
                                                   h

    SettlementAgreem entorwhetherthey are &lfuture''clnim s.Finally,the Courtmustdecide

    whethertheextem alreviewersproperlyandconclusivelyadjudicatedtheilaimssuchthatthey
    arebarred by therelease.

           A.Review File

           Underthe gamew ork oftheSettlem entA greem entand thearbitration orders,the

    SettlementAdministratorEPIQ Globalwouldserveasagatekeeperandfirstdetermineifaclass
    m emberhad provided theproperdocum entationto subm ita Category 2 claim .SeeJudgeDavis

    M ay 23,2007Order(ECF 6787-20at9).2Ifso,then Cignawouldreceivetheclaim anddecide
    to grantordeny it.IfCigna denied the cbim,itwould compileitsRReview File,''with the

    decisionontheclnim thensubjecttoExternalReview.Ii at10.InhisFinalAward,Arbitrator
    M atthqwsconsidered whetherthe Settlem entAdm iniskatorEpiq deviated 9om the Settlem ent

    Agreem entby excusing Cigna9om itsobligation to provide aReview File,and whetherthe

    Arbitratorshould fm dM CAG'Sclaim sperse valid and payabletmdertheSettlem ent

    Agreement.(ECF 6820-2).M CAG arguesthatbecauseCignafailedtocompileasufdcient
    Gtlkeview File''foreach tmapproved clnim ,then every such clnim should bedeem ed valid and

    imm ediately payable.To maketllisargum ent,M CAG relieson the Settlem entAgreem ent,itself,



    2JudjeDavisalsoenteredallorderofclarificationonAugust6,2007,whichreiteratedthattheSettlement
    Admtnistratorin itqgatekeeping fnnction shouldreview theproofofclaim to determinewhethertheclassmember
    submitteddocllmentationspecifiedintheSettlementAgreement.(ECF6732-20at5).
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    wllichprovidesthatçtlilfCignafailsto mssembleandfolwardtotheSettlementAdministratorthe
    Review File foradenied proofofclnim withinthetim elimitsspecised in thisAr eem ent,the

    denied proofofclnim shallbedeem ed approved and shallconstimteaValid ProofofClaim .''

    SettlementAgreementatj8.3(c)(2)(h)(ii)(ECF2308at139,Ex.B).Thisisrelevanthere
    becauseM CAG'Sclaim satissue areforthosewhereCigna desi> ated ççRecordsFound,N o.''

    M s.M attingly testi/edthatCignawould desighateaclnim astlRecordsFotmdN o''when a11of

    Cigna'sRsearchesthrough oureligibility flesand otlrclaim enginesdid notidentify aclaim that

    wasprocessed forthism embernllmber,fortlaisdateofservice,from tllisservicingprovider's

    tax ID mlmberthatwasprovided.''(ECF 6787at44;Ex.12at2376).In essence,Cignaclaimed
    itwastmableto produceaReview File9om theintbrm ation provided.

          W hileJudgeDavisagreedthatCignahad anobligation undertheSettlem entAgreem entto

    provideaReview Filefortheclnim ,hedisagreed w1111M CAG astotherem edy forCigna'sfailure

    to do so.SeeJudgeDavisJtme 18,2008Order(ECF 6732-20 at15).M CAG arguedthew asit
    does now,Rsticklingqto its a11 ornothing argumentthatbecause Cir a failed to compile a
    sllfscient RReview File''for each unapproved claim ,''then the Settlem ent Adminiskator Epiq

    should fm dthoseclaim spresllmptively valid and payable.I6L at7.JudgeD avisdisagreed stating:

    &tIfmd som em eritin M CAG'Soverarching position,butnllmerousproblemson am ore specific

    level.Iagreewith M CA G thatCignam ustcomplyw iththisexpressrequirementinthe Settlement

    Agreem ent.However,lfmd thatthere are lim itationson itsscope,and thattherequirem enthas

    notyetbeen triggered on a11claimsreviewed by Cigna.''1é at8.Hefotmd thattheRlajliteral
    cons% ction oftheterm sçallrecords'and 1a11otherdocllm ents'wouldtmfairly penalizeCignafor

    nothaving a11recordsreasonably regardlessofwhenthoserecordswereinexistence.''1d.at9.The

    orderrecognizesthatRliqtisentirelyremsonableforsomeoftallrecords'and tallotherdocllments'
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    of Cigna to have been deskoyed,even inadvertently or by customary practice ptlrsuant to a

    docllm entretention policy.''Id.He aptly added thattherexnightalso be instanceswhere M CAG

    did notin the flrstinstance provide enough inform ation forCigna to identify the classm ember.

    'I'
      bis could happen in cases,where on the smface,the Settlement Adm inistrator Epiq found

    sufscientcauseto allow theclaim to proceed,butdueto som eetw rintheidentifyhlghtformation,

    Cigna could not identify the clmss m ember, and therefore,have no Review File.1é at 10.

    Consistentw1111JudgeDavis'sstatem ent,the Courtdoesnotfm d thatcategorically the failtlreto

    provideareview fllerequiresarem edy thattheclnim bepaid.

           In theJtme 18,2008 Order,Judge Davisap eed with M CAG in partfinding thatwhere

    inform ation wmsm issing,thoseçtdefected clnims''should beretalrnedto M CAG foradditional

    inform ation.16Lat12-13.Forclaim sthatCignadenied,Cignashould com piletheReview File

    and itshould go to an extem alreviewerfora decision on them erits- which externalreviewer

    would depend on thetypeofclnim .Id.at14.Eitherthe SettlementAdministratororan

    IndependentReview Entity wouldperform theexternalreview to determinethe validity ofthe

    claim .I6LTheArbikatoradded thatGf ignamay complninthatitshould notbereqtè edto

    compileaçtReview File''foreach and every clnim subm ittedby M CAG....cigna'sdenialmust

    besupported only by apreponderanceoftheevidence,such thatany patentdefcienciesin

    M CAG'Ssubm issionsshouldbeevidenton externalreviem ''f#.at16.

           Finally,theJune18,2008ordernotedthatJudgeDavisttdeclineld)Cigna'sinvitationto
    m akeany substantivedeterminationsasto thevalidity ofany clnim s,eitherindividually or

    categorically.''f#.at16;seealsoSettlementAgreementj8.3(c)(2)(h)(iv)(G)(ECF 2308at144)
    Co ecisionsoftheSettlementAdminiskatororIndependentReview Entity,msappropriate,shall
    befinalandnotsubjecttoreview bytheCourtorany othercourtortribtmal.ol;seealso


                                                  9
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     Managed CareAdvisoly Grp.,LLC v.CignaHealthcare,939F.3d 1145,1151(111 Cir.2019)
     CM erevaluatingtheseclaims,theReviewersWotlldmakeafmal,independentdecision
     regardingwhethertheclaimsshouldbepaid.'').TheExternalReviewersareresponsiblefor
     m nking the finaldetermination asto whetherCignam etitsburden in denying aclaim .Because

     the extem alreviewersdenied theclaim satissue,M CAG lacksadditionalrecourse.See M CAG 'S

     ArbitrationDemand(ECF 6726at12-13)(explainingthatclaimsatissueinthearbitration are
     forclaimsreviewedbytheExternalReviewers).TheSettlementAgreementdoesnotallow the
     Cout'ttoreview thesubstantivedecisionsofthe Extem alReviewers,even ifthey werem ong.

            In soholding,itisimportantto notewhen theSettlem entAm eementtdggeredthe

     Review Filerequirement.M CAG arguesthateveryclnim submittedtoEPIQ required aReview
     File,butthe Settlem entAgreem entcreated arigorousprocessforresubmission ofCategory 2

     clnm s.3BeforeCignahad any obligation toprovideaReview File,M CAG had to filevalid

     proofsofclaim and had to provide adequateidentifying inform ation to permitCignato locatethe

     clnim .M CAG doesnotciteto any record evidenceto establish thatitfiled validproofsofclnim

     orthatitprovidedadequateidentifying inform ation to permitCignato locate the c1aims.4The

     Courtordered M CAG to 5lea qçparaterejponseon thisissue oftherelease,and inthatfling,

     M CAG doesnotestablish thatitsresubmitted claimscompliedw1111theCategory 2 processin

     thefaceofCigna'srepeatedassertionstothecontrary.M CAG'SResponse(ECF 6937).
     Therefore,even ifthe Courtfotmd thatafailtlreto provideaReview Filem eantthataclaim was


     3fçunderthisprocedure,theSettlementApeementprovidesthatclmssmembersshallsubmitclaimsto the
     SetllementAdminiskatorforinitialyrocessing.Specifcally,clmssmembersmustsubmit:(1)aProofofClaim Form;
     (2)documentationevidencingademalorreductioninpayment;(3)acompletecopyofClinicalInformatipnas
     defmedandspecledintheSettlementAgreement;and(4)acertifkationthattheserviceswereactuallyrendered,
     thatno reimbursementon theclaim hasbeen previously sought,andthattheclaim isnota'ResolvedClaim'as
     defmedintheSettlementAgreement.j8.3c(2)(9,SettlementAgreement(ECF6787,Ex.20at8).
     4M CAG'SbriefstotheCourtonthisissueacu owledgethecomplexprocess,butdonotprovideproofthatit
     followedtheprocesseven though Cignarepeatedly arguesthatM CAG failed tocomply withthe Settlement
     Agreement'srequirements.See,e.g.M CAG'SResponse(ECF 6935at2).
                                                      10
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    perse valid,M CAG would stillneed to show thatthe claim wassubmitted in accordancewith

    thesettlem entAs eem entin thenrstplace.sseeM ay 23,2007 orderofArbikatorJudge

    EdwardB.Davis(ECF 6787-20at129)(çToavoidthispitfallagain,theArbikatorordersthat
    M CAG,mspartofitsresubm ission ofthe claimsto the Setdem entAdm inistrator,desir ate

    tmderwhich subsection ofj8.3c(2)(d)oftheSettlementAgreementitissubmittingeach
     Claim .'').
            TheCourtm ustgive a11theprovisionsofthe Settlem entAp eem entm eaning.

    Undeniably,theSettlem entAgreem entrequizesCignato produce aReview File upon the denial

     oftheclaim .ButtheSettlem entAgreem entalso createsarigorousprocessfortiling ofCategory

    2 clnimsin theftrstinstance.And the Settlem entAgreem entalso statesthattheExtem al

    Reviewershavethefm alsay on them eritsoftheclaims.Readingtheseprovisionstogether,the

    Courtfinds,asJudgeDavisdid,thatthefinaldecisionm akerscould weigh whethertheReview

    Filerequirementwastriggered orwhetherthe circumstancesofeach clnim rendered the

     requgementvoid ab initio duetoa failureby M CAG toprovide sum cientdocllm enGtion upon

    theresubmission ofthe claim orwhetherthe clnim wasm eritoriousand payable.Indeed,the

     Extem alReviewers'enforcem entoftheReview Filerequirem entresulted in 53% ofCigna's

     derlialsbeingovertumed.(ECF 6820-2at!48).ThatshowsthattheExternalReviewers
     analyzed each claim to determineitsviability.Therefore,the CourtcnnnotfindM CA G'Sclaim s

    Persevâlidb%edonthelackofaReview File,when theExtem alReviewersconductedan
     analysisand rendered fmaldecisions.To ruleotherwisew ould pdoritizecertnin provisionsofthe

     SettlementAgreementoverothers.SeeGoldenv.Univ.ofM iami,484F.Supp.3d 1255,1263
     (S.D.Fla.2020)Clq ourtsdonotlterpretcontractualtermsinisolation- Gçriqnreviewing a

     5Mr.Buchakjian(MCAG'Sexpert)testfedthathehasnoopiniononwhetheranyProofofClaim sublnittedhad
     adequatedocumentation.(ECF6787,Ex.8at1536).
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     conkact..O e entirecontrad m ustbereviewed asawholewithoutâagmenting any seo entor

    Portion-'l.
            TheFinalAwardatissueintMscmsefotmdthatEPIQ didnotcomplywiththeSettlement
    Agreem entwhen itsent81,450 RecordsFolmd,No clnim stothe IndependentReview Entity.

     (ECF 6820-2at54).HefoundthatEPIQ'Sobligation wastoreverseCigna'sdenialwherethere
    wasno datain Cigna'sfles.Ii at55.He added thatCignaboretheresponsibility tmderthe

     Settlem entAgreementforthoseclaim swhereitsdata enginesproduced no data.Thisisatodds

    w1111the1aw ofthecase,whereJudgeDavisexplicitly recognized thattherewere instances

    wheretheReview Filerequirementwould notyetbeG ggered iftherewasm isidentifying

     Y orm ation.M oreover,asthe Courtpreviously noted,itmustview the Settlem entAgreementas

    awholeandthedecision/ ontheseclaimsbytheExtemalReviewersmustnotbeovertlzrned.
    TheArbitTatoralsohadthe obligation to review theentirety oftheSettlem entAgreement,andby

    honing in on thisonerequlem entoftheReview File,and awarding damagesbased on that,he

     exceeded hisauthority.

        B. Compliancewith ClaimsProcedures


            M CAG arguesthattheSettlementAdminiskatorEPIQ erredinsendingcertainclnimsto
     thelndependentReview EntityforjrocessingbecausetheIndependentReview Entitywas
     chargedwithreviewingderlialsofclaimsonlybased on clnlm codingmldbundlingedits.EPIQ
     wascharged with reviewing Cigna'sdecision ifthe claim wasdenied forotherreasons.Even if

     EPIQ erredin sendingtheclnimstotheIndependentReview Entityinsteadofanalyzingthe


     6TheSettlementAgreementj8.3(C)(2)(h)(iv)(G)isverybroad.Itencompassesa11decisionsbytheexternal
     reviewers.Itreads:R'
                        Whenyroofsofclaim aredeniedonExternalReview,theSettlementAammistratorshallnotify
     theClassMemberssubmittmgsuchProofofClaim bymailofthedenialsandofthereasonstherefor.Decisionsof
     theSetdementAdministratororIndependentReview Entity,asappropriate,shallbefmalandnotsubjecttoreview
     bytheCourtoranyothercourtortribunal.''(ECF2308at144).
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     clnimsitselforG ding the claimspresllmptively validundertheAgreem ent,theCotu'tcnnnot

     overtum thedecision oftheexternalreview pertheplain and tmequivocallanguageofthe

     settlement.SetdementAgreementj8.3(C)(2)(h)(iv)(G)(ECF2308at142);(ECF 6732-20at3)
     (G1TheSettlementAdministratororthelndependentReview Entityshalldeterminewhether
     Cigna'sdenialissupported by apreponderanceoftheevidencebased on M CAG'S

     docllmentationandCigna'sreview 6le).Inaddition,JudgeDavis'sordersinthiscaseare
    tmeqtlivocalthattheArbitratorshould notdecidethem elitsofthe claims,andhad no authority

    to overturn thosedecisions.

            M oreover,M CA G did notsubm ittllis'GltecordsFotmd,No''category ofclaimsthrough

    thedetailed processrequiredby the SettlementAgreem ent,asnoted supra.'
                                                                         l'heçlRecordsFound,

    No''claimswereadjudicatedbytheExtem alReviewersfrom 2007-2010.BecauseM CAG did
    notproperly subm ittheseIGRecordsFound,No''clnim s,they areban'
                                                                  edby thetermsofthe

    release.'IheSettlementAgreementdoesnotprovideadiFerentprocessforadjudicatingthe
     RRecordsFotmd,No''claims.Indeed,the Settlem entApeementdoesnoteven m ention this

     clmssiscation ofclaim s.

            '
            lnhenextquestioniswhetherEPIQ'Spmportedmistakeinsendipgclnimstothe
     IndependentReview Entity somehow ntlllilesthe effectoftherelemse.ltistnzethaton

     Decem ber22,2009,JudgeDavisentered an orderstating thatwhileheagreed thatthe

     SettlementAdminiskatorand the IndependentReview Entity m akethefm aldecisionson the

     clnims,hewmsGskedw1111ensuringthatEPIQ andtheIndependentReview Entitymade
     decisionsin accordancew1111thetermsand conditionsoftheclaim sprocedure.Heallowed

     discovery inthisregard.(ECF 6820-2at31-32).'FheCourt,however,declinestofmdEPIQ'S
     handling ofthe clnimsisgrotmdsforovertllrningthe decisionsoftheexternalreviewersnow -
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    neady 15yearslater,especially whereM CAG hmsnotestablishedthatthe claim gwereproperly

    resubm itted in accordancew1t11the Settlem entAr eem ent'sproceduresin thefn'stinstance.

    M oreover,theSettlementAgreementspecifcallyrequiredthatEPIQ G'automatically forwardthe
    ProofofClaim andReview FiletotheIndependentReview Entity fora11denialsbasedupon

    Claim CodingandBtmdlingEdits.''(ECF2308,Ex.2j8.3c(2)(h)(iv)).EPIQ hadthediscretion
    undertheAgreementtodothatandtheCourtwillnotovertum EPIQ'Sdecision,whichis
    consistentw1t11the SettlementAgreement'stmequivocallanguagethatthedecisionsofthe

     SettlementAdm inistratorortheIndependentReview Entity arefm al.

            TheCourtalso agreeswith CignathattheFinalAward exceedstheArbitTator'sauthority

    tmdertheSettlementApeementj9.6.(ECF2308at157).Section 9.6providesthatthesole
    rem edy fora clnim based on the administration andim plementation oftheAgreem entis

    application to tlzisCourtforenforcem entofthe Setdem entAgreem ent.See alsoM anaged Care

    Advisory Grp.,939F.3dat1145(statingthatthedistrictcourthasthepowertoenforcethe
     SettlementAgreement).Ratherthm1merely fmdingtheclaimswereimproperlyprocessedand
     sendingtheclnimsbacktoEPIQ,theArbikatorquantisedtheimpactofthatand alloweda
    m onetary ruling againstCignaforthedeficienciesin theprocedm e.Assuch,thebasisfor
     tinding Cignaliablealso exceedsthecontoursofthe Settlem entAgreem ent?

        C. Future Claim s

            '
            l'hepartiesdisputewkethertheclaimsatissueherewereGtfutureclaims''thatcotlldnot
     havebeen released by the SettlementAgreem ent.Notably,M CAG doesnotrefutethattheclaim s


     7TheSupplementalArbikationAgreementj5hassimilarprotectionsforCigna:Eç'
                                                                          l'
                                                                           hePartiesageethattheywill
    notmentionbeforetheArbitratorthefactthattheSettlementAdminiskatorreached any substanhvedeterminations
    astothevalidity ofanyM CAG claim ,includingtheprocessbywllich theSettlementAdministratorreached its
     decisiontopay,defect,orrejectMCAG claims.Inaddition,noargumentshallbemadethatreasonablyrequiresa
     PartytorelyontheSettlementAdminiskator'sdeterminationsinresponsetosuchargument''(ECF6787-19at3).
     Thiskspremsely whattheArbitratorconsidered intheFinalAward,which foundthatthebasisoftheaward was
     BPIQ'Sclaimsprocessingerror.SeeFinalAwardat!!g146,152,240(ECF6820-2).
                                                      14
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     arose from 1990-2004,butratherbasesitsargtzm enton thefactthatM CAG resubmittedtjw se

     clnims.TheExtem alReviewersadjudicatedthoseclaimsandthen,M CAG sou'ghttohavethe
    Arbikatorsubstantively reconsiderthem .In reality,theseresubm itted claim sarosedllring the

    period covered bytheSetllem entAgreem entfrom 1990-2004 andwerereviewed by theExternal

    Reviewers.Thatiswhatthe Settlem entA greementprovidesisthefm aldecision on them erits.

    TheEleventhCircuitconGrmedthisreadingoftheSettlementAgreementstatingthatRlalfter
    evaluadng theseclaim s,theReviewerswould m akealnal,independentdecision regarding

    whetherthe claimsshould bepaid.''M anaged CareAdvisory Grp.,939 F.3d at1151.Although

    theArbitratorM atthewsrecognized thatRthe SettlementAdm iniskatororIndependentReview

    Entity asExternalRevieweristo decidetheultim atevalidity oftheclaim s,''hereversed the

    decision for81,450 claim sthathethoughtshotlldhavebeen approvedbutweredenied dueto a

    procedmalfaw intheclaim processingby EPIQ given Cigna'sfailuretocompileaReview File.
     FinalAward!240 (ECF 6820-2at84).Therefore,theCourtagreestheArbitratorexceededltis
     authoritytmdertheSettlementAgreement.See9U.S.C.j10(a)(4);seealsoSzutsv.Dean Witter
    Reynolds,Inc.,931F.2d830,831(111 Cir.1991)(holdingafederalcourtcanvacatean
     arbitration awardin acasewherethearbikatorsexceededthei.
                                                            rauthority).
           D.ReasonsfortheArbitration
           Atoralargum ent,M CAG arguedthatCignacouldnotcontend thatthevery clnimsit

     agTeedto arbitratehadbeen releasedby the SettlementAgreem ent.Tllisargam ent,how ever,

     doesnotpassmuster.The claimssubm itted to the originalarbitration overffteen yearsago,

     resulted in Cignapaying over$14 m illion toM CAG.M CAG resubm itted theclaimsin themost
     recentarbitation,which had been eitherdenied orapproved by theExtem alReviewers.In short,

     they wereclnim sthathad already been submitted,reviewed,and determinedby theExternal



                                                  15
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    Reviewerspursuantto theonly processperm ittedby the Settlem entAgreem ent.Assuch,the

    Courtagreesw1111Cignathatthe ArbikatorM atthewsshouldnothave decided the

    compensability ofthose claimsin arbikation.

          E. Waiver

          Finally,M CAG arguesthatCignawaivedtheargumentthattheSettlem entAgreement

    barredtheseclnims.Cignaobjectedthroughoutthearbitrationproceedhvsthattheclaimswere
    barred.TheCourtdoesnotfmd sum cientrecord evidencethatCignawaived theargument.

          DONEM DORDEREDinChmnbersatMinml
                                        ',
                                         Florida,tllis 1
                                                       % ofNovember2023.
                                                              Z.''
                                                            ...




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